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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 MONICA ANN DOERNER,                         )
                                             )
                          Plaintiff,         )
                                             )
                     v.                      )   No. 1:20-cv-00902-JPH-TAB
                                             )
 ANDREW M. SAUL Commissioner of              )
 Social Security Administration,             )
                                             )
                          Defendant.         )


    FINAL JUDGMENT UNDER FEDERAL RULE OF CIVIL PROCEDURE 58

       The Court ENTERS JUDGMENT in favor of Plaintiff under Federal Rule

 of Civil Procedure 58. The Court REVERSES the Commissioner’s decision and

 REMANDS this matter to the Agency for further proceedings under sentence

 four of 42 U.S.C. section 405(g).

 Date: 10/30/2020



 Roger A. G. Sharpe, Clerk


 By: _____________________________________
       Deputy Clerk, U.S. District Court




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